Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page1of11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RH NEW ORLEANS HOLDINGS, LLC,
ECF No.: 1:24-cv-06331

Plaintiff,
-against- AMENDED COMPLAINT
Jury Trial Demanded
SERENE INVESTMENT MANAGEMENT, LLC, and
ADAM PHILLIPS, Hon. Jed S. Rakoff,

Defendants.

Plaintiff RH NEW ORLEANS HOLDINGS, LLC (“Plaintiff’ and “RH”), by and through

its attorneys, Yifat V. Schnur Esq. LLC, alleges upon information and belief:

1. Plaintiff RH New Orleans Holdings is a Louisiana limited liability company
and a branch of RH New Orleans Holdings a Delaware limited liability company.

2. RH authorized to transact business in the state of New York.

3. RH is an affiliate entity of Plaintiff Capital LLC.

4. Mark Silber resides in New York and is the Sole Shareholder of CBRM
Realty Inc. which is 100% owner of Plaintiff.

5. Defendant Serene Investment Management, LLC (‘“‘Defendant” and
“Serene”) is as a California limited liability company.

6. Defendant Adam Phillips is sole member of Serene and a resident
and domiciliary of California.

7. Serene is a foreign limited liability company.
8. Serene engages and transacts business in the State of New York.

9. Serene is authorized to transact business in the State of New York.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page 2of11

10. On or about February 2024 Plaintiff contacted Serene for the purpose of
borrowing up to ten million dollars ($10,000,000) in connection with a mortgage of the premises
commonly known as Carmel Spring located at 12151 I-10 Service Rd New Orleans, LA 70128;
and Laguna Creek located at 6881 Parc Brittany Blvd New Orleans, LA 70128; and Redstone
located at 3526 Stonegate Dr Flint MI 48507 (“Premises”).

11. Plaintiff negotiated the terms of the lending agreement in New York County
within New York State.

12. —_ Plaintiff spoke with Phillips Principal of Serene on at least five (5) separate
occasions and as many as seven occasions (7).

13. During each and every conversation or conference call Phillips represented,
falsely, that Serene specifically lends to Companies experiencing the difficulties Plaintiff was
handling and further representing that is why the lending rates where so high.

14, Serene through Phillips advised Plaintiff that it would lend Plaintiff the
requested funds, subject to generally accepted lending terms, but at very high rate of interest, 18%
and a default rate of an additional 12%, provided Serene had a first-priority mortgage on the subject
Premises located in Louisiana.

15. Serene then represented to Plaintiff that upon conducting due diligence,
Defendants determined Plaintiff had a sufficient credit rating and credit history to borrow the
requested funds.

16. To further induce Plaintiff to proceed with borrowing the funds from
Serene—as opposed to another lending company—Serene then represented to Plaintiff that it had

sufficient funds available to lend Plaintiff.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page3of11

17. Defendants further advised they would loan to Plaintiff could be paid within
one week of Plaintiff submitting a retainer.

18. In order to proceed with the loan, Serene informed Plaintiff that it needs to
retain counsel and incur other borrower costs.

19. | Based on Serene’s representations and statements to Plaintiff, Plaintiff
proceeded to retain counsel by hiring Mayer Brown LLP.

20. In further attempt to induce Plaintiff’s reliance on Serene’s knowingly

fraudulent misrepresentations that Serene would in fact lend money to Plaintiff, Serene requested

to speak with the attorney who represents Plaintiff’s principal.

21. Serene via Phillips also represented that the interest rate is so high due to
the particular circumstances of Plaintiff’s principal but that would not be a problem, Serene’s
business platform is to specifically lend in the types of situations discussed between Serene and
Plaintiffs’ Principal’s attorney and that Serene would fund the deal within one week of receiving
the retainer.

22. In good faith reliance on Serene’s representations, Plaintiff incurred legal
costs in excess of $238, 071.55.

23. In addition, based on Serene’s representations and statements to Plaintiff,
Plaintiff incurred other borrower costs for the purpose of borrowing funds from Serene.

24. On or about February 25, 2024, Plaintiff and Serene entered into a contract
outlining the terms represented during the phone calls between the parties.

25. The terms of the contract were memorialized in what Serene titled “Bridge

Term Sheet.”
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page4of11

26. The term sheet had specific language regarding a retainer fee that had to be
paid within one business day.

27.  Inreliance on Serene’s representations and the statements made to Plaintiff,
Plaintiff wired the retainer fee to Serene on February 26, 2024.

28. Plaintiff incurred these costs due to its good faith reliance on Serene’s
representation that it would lend Plaintiff up to ten million dollars ($10,000,000).

29. Despite the representation by Serene that their company specifically
provides loans under the circumstances articulated by Plaintiff during numerous calls between the
parties and as articulated and discussed in detail during calls between attorneys for the parties, in
or about March 2024, Serene informed Plaintiff that it will not lend Plaintiff the ten million dollars
($10,000,000).

30. Defendants refused to fund the loan and only notified Plaintiff after
receiving Plaintiff’s retainer fee and a mere one day before the loan was to be funded.

31. Defendants refused to provide any explanation for their failure to fulfill their
obligations under the agreement.

32. As aresult of Defendant’s misrepresentations and actions, Plaintiff owes
$238,071.55 to Mayer Brown LLP, and has paid a $100,000.00 retainer fee to Serene and incurred
other costs and expenses associated with same.

33. | These other costs include three hundred thousand dollars ($300,000.00)
owed to Piper Sandler for broker fees.

34. Significantly, as a result of Defendant’s actions and misrepresentations,

Plaintiff was forced incur other borrower cost and expenses.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page 5of11

35. Atall times relevant to this Complaint, Defendants knew that its statements
and representations to Plaintiff, including the representation that Serene had sufficient funds to
lend Plaintiff and the representation that Plaintiff had sufficient credit rating and credit history to
borrow the funds, were materially false.

36. To date, Serene refused to return the $100,000 retainer fee paid by Plaintiff.

FIRST COUNT
(Fraudulent Inducement)

37. Plaintiff repeats and incorporates by reference the paragraphs set forth
above as if fully set forth herein.

38. Serene and Phillips falsely represented Serene would lend Plaintiff monies,
Plaintiff had a sufficient credit rating and credit history to borrow the funds, it possessed
$10,000,000 to lend Plaintiff within one week of receiving Plaintiffs retainer and that Plaintiff
needed to retain counsel and incur other borrower costs in order to proceed with the loan.

39. Serene and Phillips made these knowingly false representations for the
purpose of inducing Plaintiff to pay Serene a $100,000.00 retainer fee and incur other borrower
costs and did so knowing that Plaintiff would be borrowing from Serene at a higher interest rate
then was the market rate during the relevant time period.

40. _ Plaintiff was justified in its good faith reliance on Phillip’s representations
that Serene would lend Plaintiff up to $10,000,000 as Serene is a sophisticated lender that funds
real estate projects and accepted Plaintiff’s $100,000 retainer funds.

41. Asaresult of Phillips and Serene’s misrepresentations and actions, Plaintiff
owes $238,071.55 to Mayer Brown LLP, and owes $300,000 to Piper Sandler and incurred other

borrowing costs.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page6of11

42. Furthermore, as a result of Phillips and Serene’s misrepresentations and
actions, Plaintiff does not have possession or control over its $100,000.00 retainer funds.

43. Accordingly, Serene owes Plaintiff $238,071.55 owed to Meyer Brown, the
$300,000 owed to Piper Sandler plus $100,000.00 and the other borrower costs incurred by

Plaintiff in connection with Serene’s fraudulent inducement.

SECOND COUNT
(Breach of Contract)

44. Plaintiff repeats and incorporates by reference the paragraphs set forth
above as if fully set forth herein.

45. Avvalid, binding and enforceable contract was created by the signed
Term sheet sent by Defendants to Plaintiff requiring payment of a retainer fee within one business
day.

46. Plaintiff performed all of its obligations under the Contract by funding the
retainer fee, via wire transfer to Serene, within one business day as directed by Defendants and by
incurring the legal fees and additional expenses also directed by Serene.

47.  Plaintiff’s funds were accepted by Defendants under the guise that the loan
would be closed within one week of receipt of the funds.

48. Serene breached the contract when Serene refused to fund the loan the day
before the loan was set to close.

49. As aresult of Serene’s breach Plaintiff has suffered damages in the
amount of the lost retainer funds, the legal fees and additional expenses incurred.

50. Asa further devastating result of Serene’s breach Plaintiff has suffered
the loss of its Real Estate Portfolio amounting to at least one hundred million dollars

($100,000,000.00).
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page 7 of11

51. Accordingly, Defendants owes Plaintiff $238,071.55 owed to Meyer
Brown, the $300,000 owed to Piper Sandler, the $100,000.00 retainer funds, other borrower costs
incurred by Plaintiff in connection with Defendant’s fraudulent inducement and the one hundred-
million-dollar ($1000,000,000.00) loss of its real estate portfolio.

THIRD COUNT
(Wire fraud - Title 18, Section 1343)

52. Plaintiff repeats and incorporates by reference the paragraphs set forth
above as if fully set forth herein.

53. Defendants engaged in a scheme to defraud Plaintiff and take Plaintiff’s
funds using the false pretense that Defendants would in fact loan money which would be secured
by the subject premises.

54. Defendants knew the representations, which Plaintiff relied on to its
detriment, where false when the statements were made, and the statements were made intentionally
and in furtherance of Serene’s scheme to defraud Plaintiff, in order to steal Plaintiff’s funds.

55. Defendants’ intentional acts to deceive Plaintiff into wiring funds to
Serene in reliance and fulfillment of Plaintiffs obligations under the term sheet was done in
furtherance of Serene’s scheme to obtain money from Plaintiff and without an intention by Serene
to actually fulfil the terms of the contact which was secured via fraud and deception.

56. Serene used wire communications to further this scheme.

57. The false representations and promises made by Serene were transmitted
via wire.

58. The funds Serene secured from Plaintiff were sent to Seren via wire and at
the direction with instructions provided by Serene.

59. Plaintiff justifiably relied on Serene’s misrepresentations, as evidenced by
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page 8of11

its actions in retaining counsel and incurring other borrower costs.
60. Plaintiff's reliance was reasonable given Serene's position as a sophisticated
lender that funds real estate projects and that Serene accepted Plaintiff’s $100,000 retainer funds.
61. Asaresult of Defendant’s wire fraud, Plaintiff suffered pecuniary
losses. Plaintiff owes $238,071.55 to Mayer Brown LLP, $300,000 to Piper Sandler, and incurred
other borrowing costs. Additionally, Plaintiff does not have possession or control over its $100,000
retainer funds and has lost a one hundred million dollar ($100,000,000.00) real estate portfolio.

FOURTH COUNT
(Promissory Estoppel)

62. Plaintiff repeats and incorporates by reference the paragraphs set forth

above as if fully set forth herein.

63. Defendants, promised Plaintiff that it would lend Plaintiff, subject to
generally accepted lending terms and a first-priority mortgage on the Premises, up to $10,000,000
at an interest rate of 18% and default rate of an additional 12%.

64. Defendants further promised Plaintiff that Plaintiff’s credit rating and credit

history was sufficient to borrow the funds.

65. Plaintiff reasonably relied on Defendant’s promises to retain Mayer Brown

LLP, pay Serene a $100,000 retainer fee and incur other borrowing costs in connection with

obtaining the loan.

66. Asaresult of Serene’s actions, Plaintiff was forced to pay $238,071.55 to

Mayer Brown LLP and lose the benefit of its $100,000 retainer fee and incur other borrowing

costs.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page9of11

67. Accordingly, Serene owes Plaintiff $238,071.55 plus $100,000 and the

other borrower costs, including the $300,000 incurred by Plaintiff in connection with Serene’s

failure to lend Plaintiff funds.

FIFTH COUNT
(Equitable Estoppel)

68. Plaintiff repeats and incorporates by reference the paragraphs set forth

above as if fully set forth herein.

69. Plaintiff was justified in relying upon Defendant’s statements for the

purpose of retaining Mayer Brown LLP, incurring a legal bill of $238,071.55 and paying Serene a

$100,000 retainer fee.

70. In the interest of fairness and to prevent injustice, Plaintiff should not be

forced to incur a $238,071.55 loss due to Serene’s lack of funds or change of heart.

71. Likewise, in the interest of fairness and to prevent injustice, Serene should

not be allowed to keep the $100,000 retainer fee paid by Plaintiff.

72. Accordingly, Defendants should reimburse Plaintiff $238,071.55 plus

$100,000, plus $300,000.00 in broker fees to Piper Sandler - under the doctrine of equitable

estoppel.

SIXTH COUNT
(Quasi Contract/Unjust enrichment)

73. | The Defendants benefited in receiving a $100,000.00 in retainer funds

from the Plaintiff.
Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page 10of11

74. Further the Plaintiff lost the benefit and use of its $100,000.00 as well as
the other fees incurred as a result of Defendant’s actions in the amount of at least $538,071.55.
75. It would be against equity and good conscience for the Defendants to keep

Plaintiffs $100,000.00 and for Plaintiff to lose the money expended on legal and other related fees,
in addition to suffering one hundred million dollars in lost real estate portfolio due directly to

Defendants actions.

WHEREFORE, Plaintiff demands judgment against the defendants as follows:
i. Anaward as against Serene Investment Management, LLC and Adam
Phillips, jointly and severally, in the amount of at least $638,071.55;
ii. an additional amount to be determined by the jury for Plaintiff's other damages

and/or injuries including the one hundred-million-dollar ($100,000,000.00) loss of Plaintiffs Real

Estate Portfolio;
iii. Attorneys’ fee and costs of enforcement; and

iv. Such other and further relief as the Court may deem just and proper.

Dated: August 25, 2024

YVLS LAW

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ifat@yvislaw.com

Case 1:24-cv-06331-JSR Document4 Filed 08/26/24 Page11of11

ATTORNEY VERIFICATION

STATE OF NEW YORK }
}ss.:
COUNTY OF NEW YORK _ }

The undersigned, an attorney admitted to practice in the Courts of the State of New York,
shows:

That deponent is a member of the firm of Yifat V. Schnur Esq. LLC, the attorneys of record
for the plaintiff, in the within action; that deponent has read the foregoing Summons and
Complaint, and knows the contents thereof; that the same is true to deponent's own knowledge,
except as to the matters therein stated to be alleged on information and belief, and that as to those
matters, deponent believes same to be true. Deponent further states that the reason this Verification
is made by deponent and not by said plaintiff is that said does not have an office in the county
wherein plaintiff resides.

The grounds of deponent's belief as to all matters not stated upon deponent's knowledge
are as follows: Records and correspondence in deponent's possession.

The undersigned affirms that the foregoing statements are true under the penalties of
perjury.

Dated: August 25, 2024

Yifgt V. Schnur

